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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

 DAVID P. DONOVAN,                   )
                                     )
             Plaintiff,              )
                                     )
       v.                            )    Civil Action No. 1:20cv1344 (AJT/IDD)
                                     )
 BETH A. WILKINSON,                  )
                                     )
             Defend ant.             )
 ____________________________________)

      MEMORANDUM IN SUPPORT OF INTERVENOR’S OBJECTIONS TO THE
              MAGISTRATE JUDGE’S ORDERS ON SEALING




                                          John L. Brownlee (VSB No. 37358)
                                          Stuart G. Nash (pro hac vice)
                                          Robert J. Farlow (VSB No. 87507)
                                          David L. Haller (pro hac vice)
                                          Holland & Knight LLP
                                          800 17th Street N.W.
                                          Washington, D.C. 20006
                                          Phone: 202.261.3300
                                          Facsimile: 202.261.3333
                                          john.brownlee@hklaw.com
                                          stuart.nash@hklaw.com
                                          robert.farlow@hklaw.com
                                          david.haller@hklaw.com

                                          Counsel for Intervenor
                                          Pro-Football, Inc.
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         Intervenor Pro-Football, Inc., d/b/a the Washington Football Team (the “Team” or

 “Intervenor”), pursuant to 28 U.S.C. § 636(b)(3) and the Court’s inherent power to control access

 to judicial documents, hereby respectfully objects to the Magistrate Judge’s Order of April 6, 2021

 (Dkt. 173) (the “Order”) denying the Team’s request to seal certain terms and phrases within seven

 documents — previously filed under seal in this litigation — before they are placed on the public

 docket. A list of the redactions at issue, along with a brief explanation of the legal and factual basis

 for each, is attached hereto as Appendix A.

 I.      INTRODUCTION

         This lawsuit began as an effort by one former lawyer for the Team (David Donovan) to

 enjoin another lawyer for the Team (Beth Wilkinson) from publicly divulging information that

 would be detrimental to David Donovan, and to other nonparties, including the Team

                        .

         Ironically, however, unless this Court intervenes, the lawsuit, which would have protected

 the Team (along with Donovan) from the improper disclosure of such information will itself be

 the vehicle by which confidential information pertaining to the Team

                                            enters the public domain. Despite the Magistrate Judge’s

 diligent efforts that resulted in redaction of significant portions of the filings in this case, certain

 information left unredacted by the Magistrate Judge would allow outside observers to:

                        identify the nature and content of
                                         that was the subject of the lawsuit;

                        have access to information that is protected by the attorney-
                 client privilege; and

                        have access to protected attorney work product in the form
                 of mental impressions Defendant formed while performing her
                 investigation, as an attorney for the Team.




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         Piling irony on top of irony, although it is the Team that will be harmed by the public

 disclosure of this information, the Team was not a party to this litigation until after the lawsuit was

 dismissed. It was only after the dismissal, when the matter was subject to potential unsealing, that

 the Team intervened to protect itself from this backdoor disclosure of its confidential information.

 By that time, perhaps secure in the understanding that certain of the filings were being made under

 seal, both of the Team's lawyers (that is, Plaintiff and Defendant here) had introduced extensive

 amounts of the Team’s privileged                                                 into the record. The

 Team has never waived its privilege with respect to the public disclosure of any of this information

 and, as a latecomer to this litigation, has faced the unenviable task of attempting, with the aid of

 the Magistrate Judge, to turn back the clock, and preserve its rights of privilege and confidentiality.

         The Team is aware that the courts have long recognized a right of the public to be kept

 apprised of the nature and content of court proceedings generally. However, courts, including the

 Fourth Circuit, have been quick to recognize that “[t]his right of access to court records is not

 absolute . . . and may [be] . . . outweighed by competing interests.” In re Knight Pub. Co., 743

 F.2d 231, 235 (4th Cir. 1984). Surely, it cannot be the law that a case brought to enjoin the

 dissemination of confidential information must be unsealed to the public in a manner that divulges

 the nature of that very information the lawsuit seeks to protect. Such an application of the law

 would, in effect, deprive a potentially aggrieved party of ever being able to go to court to protect

 itself from improper disclosure of information. And the unfairness of such a result is only

 magnified when the party who would be harmed by the unsealing, was not even a party to the

 litigation in the first place.

         Despite the inherent unfairness of this situation, the Team acknowledges that, under

 applicable law, it is not entitled to a blanket sealing of this entire matter. The Team respectfully



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 submits that, notwithstanding the diligent work of the Magistrate Judge, there remain 11 instances

 where redaction is necessary, either because the information is, on its face, privileged or subject

 to the Team’s                                                                                     , or

 because the information will fuel reasonable inferences about the contents of information the

 Magistrate Judge has properly redacted. Significantly, all of the proposed redactions that are

 subject to these objections are redactions that Defendant — who has been the party most motivated

 to get this information before the public — has agreed to during the course of this litigation.

         The Team respectfully requests the Court: (1) grant the Team’s request for redaction of

 these 11 passages; and (2) to articulate plainly the principle that information from which the

 content of redacted material may be inferred must also be redacted.

 II.     BACKGROUND

         This case arose out of a dispute between two lawyers regarding their legal work on behalf

 of the Team. Thus, the very nature of the dispute calls for discussion of privileged and confidential

 information.

         In July 2020, the Team retained Beth Wilkinson (“Defendant”) and her law firm of

 Wilkinson Stekloff (then known as Wilkinson Walsh) to conduct a privileged and confidential

 internal investigation (the “Investigation”). See (Dkt. 94-9). On November 9, 2020, the Team’s

 former general counsel brought this suit “to enjoin [the] Defendant from disseminating information

 that is the subject of                                                             and other related

 confidential information.” (Dkt. 24 at 1). Defendant obtained this information from the Team’s

 representatives in the course of providing legal services to the Team.

         Although the Team was generally supportive of the result Mr. Donovan attempted to

 achieve — preventing the public disclosure of material subject to



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              — the Team did not join the lawsuit and never authorized Mr. Donovan or the

  Defendant to disclose any privileged information in connection with this litigation. Indeed, the

  Team repeatedly affirmed to Mr. Donovan and Defendant that it considers all communications the

  Team or its attorneys or representatives have had with Defendant and her firm to be protected by

  the attorney-client privilege; and that all work product generated by Defendant and her firm are

  similarly protected from disclosure by the attorney work product doctrine.

         Plaintiff and Defendant filed numerous motions, briefs, and exhibits that contained or

  referenced privileged and confidential information, including, inter alia: (1) privileged

  communications between the Team and Defendant; (2) Defendant’s attorney work product; (3)

  communications protected by the common interest privilege; (4)                               ; and (5)

  material relating to

                                                  . Some filings in this litigation also contained

  immaterial and needlessly scandalous statements about the Team and other non-parties.

         Given the confidential nature of this material, when Plaintiff first filed this lawsuit, he

  sought to seal the case in its entirety. See (Dkt. 32 at 1). On November 17, 2020, the Court denied

  Plaintiff’s motion but found that “there may be subject matter, facts, allegations or references that

  would justify redactions from the public.” (Dkt. 32 at 4). As a result, the Court directed the Parties

  “to present expeditiously any such issues to Magistrate Judge Davis.” Id. After further briefing

  and hearings, on November 25, 2020 the Magistrate Judge entered an Order (the “Sealing Order”)

  requiring that certain information be redacted from “all filings by either party.” (Dkt. 68 at 1). This

  material includes “information protected by attorney-client privilege” and:

         the phrases                                                 references to
                                    ; references to

                                                      [a]ll discussions or references concerning


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         particularities of
                                                                             .

  (Id. at 1-2). The Sealing Order also directs the Parties to “revise the documents” and “incorporate

  the redactions” subject to the Sealing Order. (Id. at 3).

         On December 9, 2020, the Team moved to intervene with consent of all parties, in order to

  assert its right —                                          — to seal confidential and/or privileged

  information from the public record. See (Dkt. 79). The Court granted the Team’s motion that same

  day. See (Dkt. 84). On December 17, 2020, the Team filed a Motion to Seal, Strike, and

  Reconsider in Part the Sealing Order. See (Dkt. 94). Together with that motion, the Team filed

  proposed redactions of the documents under seal. See (Dkt. 95). Neither Plaintiff nor Defendant

  objected to the Team’s motion or proposed redactions. See (Dkt. 136, 137)

         On January 8, 2021, the Magistrate Judge held a closed hearing (via Zoom) on the Team’s

  Motion to Seal, Strike or Reconsider. The Magistrate Judge declined to accept the Team's

  proposed redactions in their entirety, despite the fact that none of parties had registered any

  objection to them. Instead, the Magistrate Judge articulated a more restrictive set of instructions

  as to what could not be sealed. See (Dkt. 145). By Order dated January 11, 2021, the Magistrate

  Judge granted in part and denied in part the Team’s motion. See (Dkt. 147). The order directed the

  parties—i.e., Plaintiff, Defendant, and the Team—to confer and submit a new set of proposed

  redactions to the sealed documents based on the Court’s guidance from the January 8th hearing

  and the Sealing Order. Id. The parties subsequently conferred and submitted new proposed

  redactions for the Magistrate Judge’s review. See (Dkts. 154, 154-1). The Magistrate Judge

  provided additional feedback, and Plaintiff, Defendant, and the Team revised these redactions yet

  again (each document at least once) in February 2021. Each round generally contained fewer

  proposed redactions than the last, sometimes dramatically so.


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           On March 10, 2021, by e-mail, the Magistrate Judge provided still more feedback on the

  proposed redactions and directed the parties to update the documents accordingly by March 17,

  2021. On March 16, 2021, the Magistrate Judge issued an Order requiring the parties to follow the

  Clerk’s procedures and upload directly to the Docket “properly redacted versions” of several

  documents “pursuant to” the Court’s rulings of November 17, 2020 (Dkt. 32), November 25, 2020

  (Dkt. 68), and January 11, 2021 (Dkt. 147). See (Dkt. 165 at 2).

           The parties worked through the sealed documents at issue to implement the instructions

  contained in the Court’s March 10 email and March 16 Order. However, the Team and Plaintiff

  noted some inconsistencies between those instructions, on the one hand, and the Magistrate

  Judge’s prior rulings and controlling law, on the other. After the Team informed the Magistrate

  Judge of these inconsistencies, he instructed the parties to submit memoranda providing examples

  of the inconsistencies and an explanation for why the identified material should remain redacted.

           As instructed, the Team submitted its memorandum directly to the Magistrate Judge’s

  Chambers on March 24, 2021, highlighting 11 sample redactions for the Magistrate Judge’s

  reconsideration and providing legal and factual reasons in support.1       On March 31, 2021,

  Defendant submitted her memorandum in response, which opposed the Team’s examples in part.2

  Defendant’s memorandum did not ask the Magistrate Judge to reconsider any of the other

  redactions that he previously ruled upon. Defendant’s memorandum argued, for the first time,

  against some of the legal positions the Team had consistently maintained for months. For example,




  1
      The Team’s memorandum was later filed under seal on the docket. See (Dkt. 169-1).
  2
      Defendant’s memorandum was later filed under seal on the docket. See (Dkt. 172).


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         More specifically, Defendant argued that confidential and privileged information about the

  Team should not be redacted if the Magistrate Judge was unwilling to redact potentially damaging

  information about her, stating: “whatever principles the Court applies to redactions must apply

  equally to statements about her and others.” (Dkt. 172 at 2). Defendant further asserted that “[i]f

  the Court is willing to redact the Team’s attacks on Ms. Wilkinson in the Jan. 8 hearing and the

  Team’s motion to seal and strike, then she would not oppose redacting [one of her own

  statements].” (Id. at 2). However, if the Magistrate Judge was unwilling to apply redactions to

  Defendant’s liking, then redactable passages the Team identified “should be unredacted consistent

  with the unredaction of the Team’s accusation against her.” (Id.). Defendant cited no authority for

  the proposition that the Magistrate Judge’s sealing decisions should be premised on an effort to

  seek some kind of "parity" in the resulting public perception of the parties.

         On April 5, 2021, the Magistrate Judge directed the parties to file their memoranda on the

  docket and informed them that he would treat the Team’s memorandum as a motion for

  reconsideration and Defendant’s memorandum as an opposition brief. The Team filed its

  memorandum on the docket under seal that same day (Dkt. 169), and Defendant filed her

  memorandum under seal on April 6, 2021 (Dkt. 172). On April 6, 2021, the Magistrate Judge

  issued an Order granting one of the disputed redactions in full and two additional redactions in

  part. See (Dkt. 173 at 1). The other proposed redactions were denied. See (Id. at 2).

  III.   LEGAL STANDARD

         The Magistrate Judge’s sealing decisions are subject to de novo review. A magistrate

  judge’s “power to control access to judicial documents or docket sheets,” including the “power to



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  seal or unseal a document derives from the district court’s power to take such actions.” In re

  application of the United States, 707 F.3d 283, 289 (4th Cir. 2013) (quoting Matter of the Appl. &

  Aff. for a Search Warrant, 923 F.2d 324, 326 n.2 (4th Cir. 1991). As such, a magistrate judge’s

  decision concerning sealing and unsealing documents “falls under the ‘additional duties’ prong of

  the Federal Magistrates Act, 28 U.S.C. § 636(b)(3), and decisions under this prong are accorded de

  novo review by the district court.” Id.

  IV.    ARGUMENT

         It is well-settled that some degree of redaction is necessary in this case. This Court has noted

  that: “[u]pon review of the Complaint and the pleadings . . . it does appear that there may be subject

  matter, facts, allegations, or references that would justify redactions from the public record.” (Dkt.

  32 at 4). The Magistrate Judge’s Sealing Order ruled even more concretely that certain material —

  including all references to and details regarding the material subject to the Contractual

  Confidentiality Obligations and all “information protected by attorney-client privilege” —should be

  redacted from the parties’ filings. (Dkt. 68 at 1-2). His subsequent orders and guidance provided

  further direction that certain phrases, sentences, and topics should be redacted.

         None of the parties challenge the vast majority of the Magistrate Judge’s final decisions as

  to which material should remain sealed.

         The only question, therefore, is whether the few terms and phrases the Team objects to

  unsealing reveal the kinds of confidential and privileged information the Magistrate Judge already

  has correctly ordered should remain sealed. They do. The disputed redactions generally fall into

  four categories: (1) the substance of conversations between the Team—or its agents—and Defendant

  in her capacity as the Team’s lawyer; (2) attorney work product in the form of mental impressions

  Defendant formed while performing her Investigation; (3)



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                                                       ; and (4) immaterial and needlessly scandalous

  allegations against the Team and other nonparties. As explained below, the privacy interests in favor

  of keeping this material sealed override the presumption of public access—to the extent one exists—

  and meet the applicable standard of sealing. See BASF Plant Sci., LP v. Commonwealth Sci. & Indus.

  Research Org., 2019 WL 8108115 at *1-3 (E.D. Va. Aug. 15, 2019).

         A.      General Sealing Standard

         The public has no right of access to most of the filings at issue because they were filed

  under seal and never used in support of a dispositive motion. The Fourth Circuit has specifically

  held that documents that “do not play any role in the adjudicative process” are “more akin to

  discovery materials” and do not trigger a public right of access. In re Policy Mgmt. Sys. Corp.,

  1995 WL 541623, at *3-4 (4th Cir. Sept. 13, 1995). Indeed, the consensus of federal courts is that

  “the federal common law right of access does not apply to documents filed under seal” at least

  until those documents are used in support of a dispositive motion. See Phillips ex rel. Estates of

  Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1213 (9th Cir. 2002) (collecting cases). “Therefore,

  when a party attaches a sealed discovery document to a nondispositive motion, the usual

  presumption of the public’s right of access is rebutted ….” Id.

         Applying these principles, another court in this circuit has held that “there is no right of

  public access” to confidential documents that a party attaches to a summary judgment motion that

  is later voluntarily withdrawn because “the court [never] considered [them].” In re NC Swine Farm

  Nuisance Litig., 2017 WL 5178038, at *8 (E.D.N.C. Nov. 8, 2017). These same principles should

  be applied here because Plaintiff voluntarily dismissed his case before the Court adjudicated the

  Parties’ rights. In other words, the sealed documents are not judicial records and do not trigger

  the “presumption of public access.” Policy Mgmt. Sys., 1995 WL 541623 at *4.



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         Even to the extent a public right of access exists, however, the Court is empowered to “seal

  documents if the public’s right of access is outweighed by competing interests.” In Re Knight Pub.

  Co., 743 F.2d 231, 235 (4th Cir. 1984). “The public’s right to access judicial records stems from

  two sources: the common law and the First Amendment to the United States Constitution.” BASF

  Plant Sci., LP, 2020 WL 973751, at *13 (E.D. Va. Feb. 7, 2020) (citing Level 3 Comm’s LLC v.

  Limelight Networks. Inc., 611 F. Supp. 2d 572, 577-78 (E.D. Va. 2009)). Here, the more lenient

  common law standard applies because the filings (most of which relate to collateral sealing issues)

  do not “substantively resolve” the case. See Rushford v. New Yorker Magazine, Inc., 846 F.2d

  249, 252 (4th Cir. 1988); BASF Plant Sci., LP, 2019 WL 8108115, at *2 (E.D. Va. Aug. 15,

  2019). Under that standard, which applies to most judicial records, the presumption of public

  access is “rebutted if countervailing interests heavily outweigh the public interests in access.” Va.

  Dep’t of State Police v. Wash. Post, 386 F.3d 567, 575 (4th Cir. 2004) (quoting Rushford, 846 F.2d

  at 253).3 Regardless, the Team’s privileged and confidential information warrants sealing under

  either standard.

         B.      Privileged Communications Between the Team and Defendant

         “The attorney-client privilege is   ‘the   oldest   of   the   privileges   for   confidential

  communications known to the common law.’” In re Search Warrant Issued June 13, 2019, 942 F.3d

  159, 172-73 (4th Cir. 2019) (quoting Upjohn Co. v. United States, 449 U.S. 383, 389 (1981)). It is


  3
    The First Amendment right is more stringent but applies only to matters that “substantively
  resolve” the case. Rushford, 846 F.2d at 252. Even the First Amendment standard allows for
  sealing documents where there is “an overriding interest based on findings that closure is essential
  to preserve higher values and is narrowly tailored to serve that interest.” Press-Enter. Co. v.
  Superior Court of Cal., 464 U.S. 501, 502 (1984). Here, that standard, too, is satisfied because the
  redactions are narrowly tailored and essential to preserve those aforementioned higher interests.
  Any information that warrants sealing under the First Amendment standard “necessarily satisfies
  the relevant common law standards.” Adams v. Object Innovation, Inc.,, 2011 WL 7042224, at *4
  (E.D. Va. Dec. 5, 2011) (citing Ashcraft v. Conoco. Inc., 218 F.3d 288, 302 (4th Cir. 2000)).


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  black-letter law that attorney-client privilege “belongs to the client, not the attorney.” United States

  v. Lentz, 419 F.Supp.2d 820, 826 n.11 (E.D. Va. 2005) (citing In re Grand Jury Proceedings #5, 401

  F.3d 247, 250 (4th Cir. 2005)); accord In re Search Warrant, 942 F.3d at 173; Hawkins v. Stables,

  148 F.3d 379, 384 (4th Cir. 1998).

          The Magistrate Judge’s ruling that “any information protected by attorney-client privilege”

  should be redacted from “all filings by either party” (Dkt. 68 at 1-2),4 is consistent with the national

  consensus that “[c]ourts generally accept a claim of privilege as capable of overriding the

  presumption of public access and thereby justifying redaction of documents.” Powers v. Braun, 2013

  WL 6623193, at *2 (D. Md. Dec. 16, 2013); see also, e.g., Siedle v. Putnam Invs., 147 F.3d 7 (1st

  Cir. 1998); Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1073 (3d Cir. 1984); Armstrong v.

  Kennedy Krieger Inst., Inc., 2012 WL 1554643, at *6 (D. Md. Apr. 30, 2012).

          Yet the Magistrate Judge’s Orders would unseal portions of filings that reveal privileged

  communications between the Team or its agents and Defendant. These include, for example, the

  substance of conversations between Defendant



                              Tr. of Sealed Proceedings of Nov. 20, 2020 at 6:8-20.

          These communications between the Team and Defendant — client and attorney — about

  how Defendant would conduct her Investigation are privileged. The Fourth Circuit “has adopted the

  ‘classic test’ for determining the existence of an attorney-client privilege.” In re Grand Jury

  Subpoena, 341 F.3d 331, 335 (4th Cir. 2003) (citing United States v. Jones, 696 F.2d 1069, 1072

  (4th Cir.1982)). Under that test, the privilege applies if:


  4
    Similarly, the Magistrate Judge has redacted common-interest communications
                                                                    . The Team does not object to
  any of the Magistrate Judge’s decisions regarding the common interest privilege.


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          (1) the asserted holder of the privilege is or sought to become a client; (2) the person
          to whom the communication was made (a) is a member of the bar of a court, or his
          subordinate and (b) in connection with this communication is acting as a lawyer; (3)
          the communication relates to a fact of which the attorney was informed (a) by his
          client (b) without the presence of strangers (c) for the purpose of securing primarily
          either (i) an opinion on law or (ii) legal services or (iii) assistance in some legal
          proceeding, and not (d) for the purpose of committing a crime or tort; and (4) the
          privilege has been (a) claimed and (b) not waived by the client.

  Id. These elements are satisfied here. First, the Team was Defendant’s client. See Caruthers v. Thau,

  2013 WL 6048799, at *8-9 (E.D. Va. Nov. 14, 2013) (“The Engagement Letter constitutes prima

  facie evidence of the parties’ professional-client relationship.”). Second, Defendant is a licensed

  attorney and participated in the communications in her legal capacity. Third, these communications

  relate to facts Defendant learned about or was told about by the Team, in private, for the purpose of

  obtaining legal services. See Better Gov’t Bureau v. McGraw, 106 F.3d 582, 601-03 (4th Cir. 1997)

  (recognizing that investigation can be a form of legal services to which privilege attaches). Finally,

  the Team has not waived its privilege.

          Defendant has argued that she was permitted to disclose these conversations as part of her

  defense against Plaintiff’s “claim that                                                            .” (Dkt.

  172 at 4-5) (citing Va. Rule of Prof. Conduct 1.6(b)(2)).




                                                                                         In other words,




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                                                                                                5



         Defendant has also argued that these communications were not privileged because they

  relate to the substance of a decision                                                             that

  was meant to be conveyed to third parties (the employees). See (Dkt. 172 at 5). That is not correct.

  First, as the case Defendant cites makes clear, client decisions are not privileged precisely because

  they are often independent of communications with counsel. See CSC Recovery Corp. v. Daido

  Steel Co., 1997 WL 661122, at *5 (S.D.N.Y. Oct. 22, 1997). Similarly, as a leading treatise

  explains: “[r]evealing client actions or decisions would not necessarily disclose either the

  substance of the attorney’s recommendation or the content of the client’s privileged

  communications upon which the recommendation was based.” Paul R. Rice, Attorney-Client

  Privilege in the United States § 5:14 (2020) (emphasis added).




                                                             Thus, because these passages disclose

  privileged communications and that privilege has not been waived, they must be redacted from the

  final record.




  5
    Intervenor was unable to bring this point to the Magistrate Judge’s attention because no reply
  briefs were permitted on the Motion for Reconsideration.


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         C.      Defendant’s Work Product and Mental Impressions

         The Magistrate Judge correctly ruled that “the results of [Defendant’s] investigation” are to

  be redacted whether they are “true or not.” Tr. of Closed Hr’g at 58:2-3 (Jan. 8, 2021). The

  attorney work-product doctrine is “no less important” than the attorney-client privilege. In re

  Search Warrant, 942 F.3d at 173. The privilege requires “strong protection” to allow attorneys to

  “assemble information, sift … the relevant from the irrelevant facts, prepare [their] legal theories

  and plan [their] strategy[ies]” “with a certain degree of privacy.” Id. (citing Hickman v. Taylor, 329

  U.S. 495, 510-11 (1947)). This privilege covers both “fact work product … and opinion work

  product, which ‘represents the actual thoughts and impressions of the attorney.’” Id. at 174

  (quoting In re Grand Jury Subpoena, 870 F.3d 312, 316 (4th Cir. 2017)). This privilege is “held

  by lawyer and client alike.” Id. In addition, clients “have a right to enforce [an attorney’s duty of]

  confidentiality” even where privilege might not apply. X Corp. v. Doe, 805 F. Supp. 1298, 1307

  (E.D. Va. 1992). Thus, the Team has an enforceable privilege and confidentiality interest in the

  information about, and materials gathered or generated during, the Investigation. Redaction of

  such material is proper.

         Internal investigations fall squarely within the attorney-client relationship. Indeed, the

  Supreme Court’s landmark decision in Upjohn Co. v. United States, 449 U.S. 383 (1981), involved

  just such an investigation. Id. at 396; see also Better Gov’t Bureau v. McGraw, 106 F.3d 582, 601-

  03 (4th Cir. 1997). Accordingly, courts around the country, including in this circuit, have granted

  motions to seal internal investigation materials. See, e.g., Armitage v. Biogen Inc., 2019 WL

  1789909, at *3 (M.D.N.C. Apr. 24, 2019) (redacting documents, in their entirety, from

  “confidential internal investigations into personnel issues and culture concerns”); Bost v. Wexford

  Health Sources, Inc., 2018 WL 9923980, at *2 (D. Md. Feb. 6, 2018) (investigative memorandum



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  and “internal investigation report”); Fether v. Frederick Cnty., 2014 WL 1123386, at *2 (D. Md.

  Mar. 19, 2014) (“While Plaintiff is entitled to use of these internal affairs investigative records,

  this Court finds that the documents do warrant protection under the confidentiality order.”)

         Yet the Magistrate Judge has ordered that portions of filings that reveal conclusions and

  mental impressions that Defendant formed in the course of — and based on information gathered

  during — Defendant’s investigation be unsealed. For example, Defendant apparently



                                                        See (Dkt. 46-2 at 2-3, 9-10). Under the April 6,

  2021 Order, however, these mental impressions would be unsealed on the ground that they relate

  to Defendant’s defenses “in the current litigation.” See (Dkt. 173) (




                                           the Magistrate Judge erred in denying the Team’s motion

  to redact those mental impressions from the public record.

         The Magistrate Judge also denied the Team’s request to redact a portion of the closed

  hearing transcript involving argument about those mental impressions where

                                                                                               ” Tr. of

  Closed Hrg. at 29:8-10 (Jan. 8, 2021).6 This goes against the “quite sensibl[e]” principle that

  discussions of the bases for sealing are themselves sealable. See In re Copley Press, Inc., 518 F.3d



  6
   Under the Magistrate Judge’s rulings, the sentence at issue would read: “That’s what we have
  here. We have defendant’s impression that, [redacted] trying [redacted]                     .”


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  1022, 1027-29 (9th Cir. 2008). Passages such as this one “inevitably contain not only the facts the

  parties hope to keep secret, but also their reasons for doing so, which are likely to be just as private

  as the facts at issue. It’s rarely possible to justify one secret without telling other secrets.” Id.at

  1027; see also Dkt. 117 ¶ 3 (ruling that public has no right of access to hearing on the Team’s

  motion to seal).

         Defendant has also argued that the mental impressions at issue relate to “the events in

  question in this lawsuit” and not her investigation. Dkt. 172 at 6. The events that gave rise to

  Plaintiff’s suit and Defendant’s Investigation, however, are one and the same.




                                                                                             Thus, these

  attorney “thoughts and impressions” are privileged and should be redacted from the public record.

  In re Search Warrant, 942 F.3d at 173.

         D.                                                           Involving Third Parties and
                                                            Concerning the Same

         The portion of the Magistrate Judge’s Sealing Order redacting all references to the material

  subject to the                                             including terms, parties, and allegations

  giving rise to it was correct.




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         Importantly, the Team was not a party in this case. Sealing is especially appropriate where

  the agreement concerns the rights of non-parties. For example, in Pittston Co. v. United States, “in

  order to facilitate the discovery of documents from [a nonparty], counsel for both [the plaintiff]

  and [the nonparty] agreed that certain categories of information produced in discovery would be

  protected from public disclosure.” 368 F.3d 385, 406 (4th Cir. 2004). The Fourth Circuit refused

  a subsequent motion to unseal those documents even after the plaintiff had attached them in

  support of its motion for summary judgment. Id.; see also, e.g., Matter of New York Times Co.,

  828 F.2d 110, 116 (2d Cir. 1987) (analyzing privacy interests of third parties against qualified First

  Amendment right to access).

         Federal courts, therefore, routinely seal information subject to




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          Some of the redactions denied by the Magistrate Judge, however, would reveal precisely

  such                                                                    . For example, the Magistrate

  Judge denied the Team’s request to redact



                                                                          .” Defendant’s Opposition to

  Plaintiff’s Motion for Preliminary Injunction (Dkt. 55 at 27-29).                      reveals several

  otherwise non-public aspects of the circumstances giving rise to



                                                                                   Moreover, unsealing

  the words                                 and                           in conjunction with the public

  record that already reveals that the litigation relates to an investigation of the Team, would disclose

  that                                                                                             Thus,

  as in Pittston and Lifenet, these references should be redacted to protect the

              .7




  7
    In her opposition to the Team’s motion for reconsideration, Defendant argued that revealing these
  allegations was necessary to provide “key context for [her] side of the story.” (Dkt. 172 at 3). But
  Defendant’s desire to tell her side of the story has no bearing on whether the language at issue is
  confidential or covered by the Magistrate Judge’s general guidance determining that references to
                                                                          .

                                                                                                 And,
  as explained below, the Magistrate Judge had valid reasons for treating allegations about the parties
  and allegations about nonparties differently. Moreover, the whole notion that decisions regarding
  unsealing various parts of the proceedings should depend on a weighing of equities between the
  parties, or in this case between a party and a non-party, has no precedent in the case law.


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         The redactions at issue also include references to an exchange between lawyers for parties

  subject to

           See Tr. of Closed Hrg. at 38:22-25 (Jan. 8, 2021).




                                                        Thus, the Magistrate Judge correctly ruled that

  “references [to] discussions about settlement and possibilities of settlement” are to be redacted. See

  Tr. of Closed Hr’g at 55:5-7 (Jan. 8, 2021).

         Yet the Magistrate Judge refused to redact discussion of Defendant’s characterization of a

  conversation regarding a supposed “

                  Tr. of Closed Hrg. at 38:22-25 (Jan. 8, 2021) (quoting Defendant’s Prehearing

  Memorandum). As discussed below, this unsworn statement by a party

                                              . See (Dkt. 94-3 at ¶ 17; Dkt. 94-8). Even if the statement

  were true, however, Defendant’s characterization of that exchange reveals

                                                           and, therefore, is sealable.

         E.      Scandalous and Immaterial Allegations About Non-Parties

         Immaterial and scandalous allegations against the Team and nonparties should be redacted

  to prevent the parties’ filings from becoming “reservoirs of libelous statements for press

  consumption.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598-99 (1978) (describing

  established exceptions to the presumed right of public access). To a large extent, the Magistrate

  Judge has done so (see Dkt. 68 at 1-2), but a number of problematic passages remain subject to being

  unsealed.



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         Courts in this circuit have inherent authority to strike “any redundant, immaterial,

  impertinent, or scandalous matter” from all filings. Kelly v. FedEx Ground Package Sys., Inc.,

  2011 WL 1584764, at *3 (S.D.W. Va. Apr. 26, 2011) (citation omitted); see also, e.g., United

  States v. Rodriguez-Silva, 2019 WL 1937144, at *9 (M.D.N.C. Apr. 8, 2019) (recommending that

  motion relying on frivolous and patently incorrect argument be stricken), rpt. & rec. adopted, 2019

  WL 1934036, at *1 (M.D.N.C. May 1, 2019). Preventing improper disclosure of material that

  should rightly remain confidential is another proper use of this inherent authority. See EEOC v.

  MVM, Inc., 2018 WL 1882715 at *14 (D. Md. Apr. 18, 2018) (striking evidence offered by

  defendant in violation of Title VII’s prohibition on using statements made in conciliation in later

  proceedings).

         Thus, courts have applied their inherent power to control the docket and strike extraneous,

  improper material where documents and statements put before them serve only to cause prejudice.

  See, e.g., Carrigan v. Cal. State Legis., 263 F.2d 560, 564 (9th Cir. 1959) (discussing courts’

  inherent power to strike motions and briefs that are “scandalous, impertinent, scurrilous, and/or

  without relevancy”); Jones v. Metro. Life Ins. Co., 2010 WL 4055928, at *14 (N.D. Cal. Oct. 15,

  2010) (striking disclosure of confidential settlement negotiations as unfairly prejudicial,

  immaterial, and generally improper).

         Such material is especially ripe for removal where it needlessly disparages a nonparty. For

  example, in Jones v. City of Danville, the court struck from the complaint as immaterial and

  impertinent paragraphs disparaging the actions, thoughts, and motives of the Commonwealth’s

  attorney, a non-party to the case. 2020 WL 6063063, at *3 (W.D. Va. Oct. 14, 2020). In so finding,

  the court recognized that “the disfavored character of Rule 12(f) is relaxed in the context of

  scandalous allegations, i.e., those that improperly cast a derogatory light on someone.” Id. (quoting



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  Asher & Simons, P.A. v. J2 Global Canada, Inc., 965 F. Supp. 2d 701, 702 (D. Md. 2013)).

         The same principle applies here. Several passages in the sealed documents insinuate

                                                                                                 Such

  statements serve no legitimate purpose, are needlessly inflammatory, and prejudice

                  . See Nixon, 435 U.S. at 598-99 (recognizing exceptions to the presumed right of

  public access where filings are used to “gratify private spite or promote public scandal” and where

  filings may “serve as reservoirs of libelous statements for press consumption”). Furthermore, this

  information is irrelevant, as such oblique and unnecessary insinuations have no value in a now-

  dismissed case or any valid public interest.

         The Magistrate Judge’s general guidance to redact certain identifying terms and

  allegations, see Dkt. 68 at 1-2, covers most of this material but leaves a few important gaps. For

  example, the Order leave undredacted a reference to



                                                           Tr. of Closed Hrg. at 38:22-25 (Jan. 8,

  2021). This allegation is immaterial to the suit between Plaintiff and Defendant and is needlessly

  scandalous given that neither                                                to this litigation.




                                                                                            See supra




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  Part IV.D. Thus, the only feasible remedy is to redact the scandalous, immaterial, privileged

  allegation from the record.

         Another example involves a passage in which Defendant accuses Plaintiff of “attempting

  to obliquely raise the privacy interests of [redacted],” in “yet another indication … that he is

  improperly bringing this litigation as a proxy for [redacted]

  reputation by obstructing the independent investigation designed to uncover the truth.” (Dkt. 46-2

  at 9-10) (Defendant’s Opposition to Plaintiff’s Motion to Seal). The Team has already agreed to

  unseal Defendant’s basic allegation that Plaintiff brought this lawsuit to protect the privacy

  interests of others. But the further unsealing of counsel’s characterization that Plaintiff was acting

  as a proxy

                                                                         .




                                              Thus, at a minimum, the words

  should remain sealed.




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         In summary, immaterial and scandalous allegations should be redacted from the public

  record, especially where those allegations harm nonparties like the Team. See, e.g., Jones, 2020

  WL 6063063, at *3. The Magistrate Judge has adequately addressed most such passages by

  redacting identifying language or the underlying allegations. The additional examples identified

  in Part IV of the attached Appendix, while superficially less direct, are equally objectionable and

  identifying and, therefore, should be redacted as well.

  V.     CONCLUSION

         For the reasons set forth above the Court should sustain the Team’s objections to the

  challenged portions of the Magistrate Judge’s final Order on redactions, and approve the 11

  additional redactions proposed by the Team listed in Appendix A.



         Dated: April 20, 2021                         Respectfully submitted,


                                                       /s/ John L. Brownlee             .
                                                       John L. Brownlee (VSB No. 37358)
                                                       Stuart G. Nash (pro hac vice)
                                                       Robert J. Farlow (VSB No. 87507)
                                                       David L. Haller (pro hac vice)
                                                       Holland & Knight LLP
                                                       800 17th Street N.W.
                                                       Washington, D.C. 20006
                                                       Phone: 202.261.3300
                                                       Facsimile: 202.261.3333


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                                                          john.brownlee@hklaw.com
                                                          stuart.nash@hklaw.com
                                                          robert.farlow@hklaw.com
                                                          david.haller@hklaw.com

                                                          Dechert LLP
                                                          1095 Avenue of the Americas
                                                          New York, NY 10036
                                                          Phone: 212.698.3500
                                                          Facsimile: 212.698.3599

                                                          Counsel for Intervenor
                                                          Pro-Football, Inc.


                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 20th day of April, 2021, a true and correct copy of the foregoing

  memorandum was filed with the Clerk of Court using the CM/ECF system, which will send a

  notification of such filing to all counsel of record.


                                                          /s/ John L. Brownlee             .
                                                          John L. Brownlee (VSB No. 37358)

                                                          Counsel for Intervenor
                                                          Pro-Football, Inc.




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  APPENDIX A
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                                                                               UNDER SEAL

  The red underlined text indicates the text the Team objects to unsealing. Black strikethrough
  indicates text the Magistrate Judge has ordered to remain sealed. Plain roman text indicates
  undisputed material to be unsealed.

    I.     Privileged Communications

                      Text                                  Concern / Argument
   Tr. of Sealed Proceedings of Nov. 20, 2020 This paragraph recounts a conversation between
   at 6:8-20:
                                                                                         Thus,
   “Number two, when Ms. Wilkinson was it should be redacted pursuant to this Court’s
   hired by the Washington Football Club and November 25, 2020 Order, and case law
   then later by the NFL,                     protecting attorney-client communications.




                   and Ms. Wilkinson was
   therefore permitted to speak to any
   employees who had previously


   Plaintiffs Reply to Defendant’s Opposition These sentences reveal the substance of a
   to Motion for Preliminary Injunction (Dkt. privileged conversation regarding
   61) at 2:                                                                          Thus, it
                                              should be redacted pursuant to this Court’s
   “Conveniently, rather than obtaining any November 25, 2020 Order, and established case
   written memorialization of that authority, law protecting attorney-client communications.
   Wilkinson claims that she had a
   conversation

                          would generically
   waive
                     ” (quoting Defendant’s
   Opposition to Motion for Preliminary
   Injunction at 8).
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   II.   Attorney Mental Impressions from Internal Investigation

                     Text                              Concern / Argument
   Defendant’s Opposition to Plaintiffs The Court recognized during the Closed Hearing
   Motion to Seal Case (Dkt. 46-2) at 2-3: of January 8th

   “And it comes on the heels of
   recent efforts to
                        silence and non-                                                       Namely,
   cooperation with          investigation, as Defendant only spoke to
   documented and rebuffed by
   Brendan Sullivan of Williams & Connolly
   LLP.”



                                                                                           is likewise
                                                   a privileged mental impression of her
                                                   investigatory findings. Thus, as a “result[] of her
                                                   investigation,” Tr. of Closed Hrg. of Jan. 8, 2021
                                                   at 58:2-3, it is sealable.

                                                   In addition, redacting this characterization is
                                                   especially appropriate because



                                                   See Dkt. 94-8 at 2-3.

   Defendant’s Opposition to Plaintiffs Defendant’s characterization that
   Motion to Seal Case (Dkt. 46-2) at 9-10:

   “Moreover, to the extent Mr. Donovan is
   attempting to obliquely raise the privacy                                    constitutes counsel’s
   interests of            , his doing so is yet   privileged mental impression formed during her
   another indication (among the others noted      investigation. Thus, while superficially this
   in     Ms.      Wilkinson’s       Prehearing    allegation is a characterization of litigation itself,
   Memorandum) that he is improperly               counsel’s
   bringing this litigation as a proxy

   reputation by obstructing the independent
   investigation designed to uncover the truth

   among other issues.”
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   Tr. of Closed Hrg. of Jan. 8, 2021 at 29:8- In response to oral argument describing why the
   10:                                         information should be sealed, the Court
                                               subsequently determined that “the results of
   “That's what we have here. We have [Defendant’s]] investigation” are to be redacted
   defendant’s impression that, that           whether they are “true or not.” Tr. of Closed Hr’g
                                               of January 8, 2021 at 58:2-3. Permitting the
                                               argument at the hearing to be fully disclosed runs
                                               counter to the Court’s later response at the hearing
                                               agreeing to seal this information as revealing
                                               mental impressions of an attorney conducting an
                                               investigation.



  III.   Particulars of                              and

                 Objection                                     Issue
   Defendant’s Opposition to Plaintiff’s This highlighted sentences reveal                 several
   Motion for Preliminary Injunction (Dkt. otherwise non-public aspects of
   55) at 29:

   “Finally, the public interest weighs firmly
   against issuing a preliminary injunction                                          Thus,
   here.     The public has a legitimate, this sentence reveals information about
   statutorily-recognized interest in the
   content of lawsuits involving allegations of
   misconduct in the workplace. This is Moreover, in light of the other text that provides
   particularly true for suits implicating
   organizations that are headed by public
   figures and play a prominent role in the
   community… This is not an ordinary
   contractual dispute between private parties.




   Plaintiff’s Reply to Defendant’s Opposition The Court has ordered redaction of individual
   to Motion for Preliminary Injunction (Dkt. names and the word                 in connection
   61) at 1, 5 6                                with
                                                             in order to keep those particulars
   “New information contained in the confidential. Order of November 25, 2020, Dkt.
   Opposition, and its declarations, confirm 68 at 1. In this context the phrase       ” is no
   beyond question that attorney Beth different from the term
   Wilkinson        acquired       confidential
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                                                                                   UNDER SEAL

   information based upon a knowingly false Moreover, unsealing these sentences would
   representation she made                     reveal
           that Pro-Football, Inc. (“PFI”)
                                had authorized
   her to represent that PFI               had
   waived their confidentiality rights
                 …

   In fact, Wilkinson had no basis
                                                                                            Tr. of
                                                 Closed Hr’g of January 8, 2021 at 27:12-19, 56:2-
   Certainly, once                      advised 7 (“
   Defendant’s partners on                  that                             ” “would be taken
   counsel for                                   out.”).
                              Wilkinson must
   have known               participation in an
   interview would be in direct violation of her
   obligations                         and that

   Wilkinson’s representation to
   that she had authority as counsel
             to override                  client,
          instructions, and to further make a
   representation based upon a purported oral
   communication by             (who Wilkinson
   contends was         her client)
                                   discussed, is
   inexplicable and is firm evidence of her
   tortious intent.

   Wilkinson went to great lengths to secure
   an interview with     in order to unearth
                 of

             , which Wilkinson immediately
   shared with the League. And, she did so
   knowing that Donovan remains subject to
   binding confidentiality obligations owed to
       …
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   Tr. of Closed Hrg. of Jan. 8, 2021 at 38:23- This language quotes a portion of Defendant’s
   25; 40:14-17:                                Prehearing Memorandum characterizing a


                                                                                 it reveals (albeit in
                                                  characterized form)
   (quoting      Defendant’s      Prehearing                        . Moreover,
   Memorandum)
   …
   “I don't know how you can read a statement
   that when someone is, it says through
   private attorneys,
             , how that doesn't disparage
   someone’s client.”


  IV.    References to the NFL, the Washington Football Team, and Its Owner

                       Text                                      Concern / Argument
   Tr. of Sealed Proceedings of Nov. 20, 2020 This Court has consistently ruled that references
   at 14:21-25:                                    to                      be redacted because
                                                                                                   This
   “In our cases, our redactions are very, very Court has also recognized that otherwise general
   limited. It’s the name of                       phrases—such as                               —can,
                        about what I discussed in the right context, reveal confidential
   early in this hearing, and it's the, the nature information. The November 25, 2020 Order
   of                                              makes clear that the redactions in this case involve

                                                                                  In light of those
                                                  contextual clues, revealing that the redactions at
                                                  issue involve
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   Tr. of Closed Hrg. of Jan. 8, 2021 at 38:23- These       sentences      relate    to
   25; 40:14-17:

   “

                                           .”
   (quoting      Defendant’s      Prehearing
   Memorandum)
   …
   “I don't know how you can read a statement Moreover, the Court recognized the sensitivity of
   that when someone is, it says through being able to piece information together about the
   private attorneys,                         allegations:
               how that doesn't disparage
   someone’s client.”                                                                    Tr. of
                                              Closed Hr’g of January 8, 2021 at 58:23-25.

   Defendant’s Opposition to Plaintiffs The Team has already agreed to unseal the
   Motion to Seal Case (Dkt 46-2) at 9-10:       Defendant’s basic allegation that the Plaintiff
                                                 brought this lawsuit to protect the privacy interests
   “Moreover, to the extent Mr. Donovan is of others. But the further unsealing of counsel’s
   attempting to obliquely raise the privacy characterization that
   interests of            , his doing so is yet
   another indication (among the others noted
   in     Ms.      Wilkinson’s       Prehearing
   Memorandum) that he is improperly                                    Coupled with the numerous
   bringing this litigation as a proxy           contextual clues, including the other unsealed text
                                                 and the November 25, 2020 Order, unsealing this
   reputation by obstructing the independent language would show that the non-party allegedly
   investigation designed to uncover the truth being protected is
                                               ,
   among other issues.”
